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6

7                               UNITED STATES BANKRUPTCY COURT
8                               NORTHERN DISTRICT OF CALIFORNIA
9                                      SAN FRANCISCO DIVISION
10   In Re:                                             Case No.: 19-31238
                                                        Chapter 13
11
     LYNN ANN SIMON,
12                                                      DEBTOR’S MOTION FOR VOLUNTARY
     Debtor(s).                                         DISMISSAL OF CHAPTER 13 CASE;
13                                                      DECLARATION IN SUPPORT
14

15                                               MOTION

16            Debtor LYNN ANN SIMON hereby moves this court for an order dismissing the above-
17
     entitled bankruptcy case, pursuant to 11 USC § 1307(b) and Bankruptcy Local Rule 1017-2.
18
              The subject case was commenced by the filing of a voluntary petition under Chapter 13
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20   on November 27, 2019, and has not been converted under 11 USC §§ 706, 1112, or 1208.

21            There are no pending motions to convert this case to Chapter 7 nor are there any pending
22   motions to dismiss this case with prejudice.
23

24   Dated: April 20, 2020                                       GRECH LEGAL
25

26                                                               /s/Matthew G. Grech
                                                                 MATTHEW G. GRECH
27                                                               Attorneys for Debtor
28


         DEBTOR’S MOTION FOR VOLUNTARY DISMISSAL OF CHAPTER 13 CASE; DECLARATION IN
                                         SUPPORT
                                            1
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1                                             DECLARATION
2
            I, LYNN ANN SIMON, declare as follows:
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     1.     I have personal knowledge of the matters set forth in this declaration and, if called upon
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     to testify, I could and would testify competently hereto. I am over 18 years of age.
5

6    2.     I am the Debtor in the above Chapter 13 bankruptcy case, which was filed on or about

7    November 27, 2020.
8
     3.     This Declaration in being submitted in support of my Motion for Voluntary Dismissal of
9
     Chapter 13 case.
10

11
     4.     There are no pending motions to convert this case to Chapter 7 nor are there any pending

12   motions to dismiss this case with prejudice.
13          I declare under penalty of perjury, under the laws of the State of California, in Redwood
14
     City, California, that the foregoing is true and correct.
15

16
     Dated: April 20, 2020                                  /s/ Lynn Ann Simon
17                                                          LYNN ANN SIMON

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          DEBTOR’S MOTION FOR VOLUNTARY DISMISSAL OF CHAPTER 13 CASE; DECLARATION IN
                                          SUPPORT
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